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                                   UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION


RE:      DUNIEL MARIN BERNAL                                                                CASE NUMBER: 24-12086 CLC

                    TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                      (If this case is dismissed, this deficiency is an objection to reinstate)

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s
letter or requirements under the Bankruptcy Code and Rules. The Trustee reserves the right to raise additional
objections UNTIL all documents are provided to the Trustee and reviewed for issues raised and additional
documents needed. See Court Notice of Commencement for additional information and Trustee’s
website www.CH13miami.com for forms and procedures.

As appropriate, all written responses or documents must be received through BKDOCS.US or filed with the
Clerk by 5pm at least 15 days prior to the first confirmation hearing or agreed deadline if confirmation is
continued. Pro Se debtors may fax documents to 954-443-4452. Late documents may not be reviewed or
considered, and this case may be at risk of dismissal. The Trustee’s Office has a “Pre-call” date, THE
THURSDAY PRIOR TO THE HEARING. During this period, the Debtor’s or Creditor’s attorney must call
and speak to the Trustee’s staff attorney unless they agree to the Trustee’s recommendation. A final calendar
will be published with any changes to this recommendation the day before the hearing on the front page of the
Trustee’s website.

***RECOMMENDATIONS ARE CHANGED UPON REVIEW OF DOCUMENTS NOT RECEIPT***

TRUSTEE’S RECOMMENDATION FOR HEARING

                                                                                                    LAST REVIEWED: 6/11/2024
1AP served 4/18
If debtor’s counsel appears, confirms service, agrees to vesting and the recommendation on the record:
Continue to 7/30:
Due on or before 7/2: 1) Amend Plan to select 100% box and pay 100% of allowed unsecured claims and/or
object to claims: trustee calculates $12,833.98, 2) File LF 76 Bar Date was 5/9/24 OR 1) Bank Account
Statements: #2384 (2/23 – 2/29/24), 2) Domestic Support Obligation form (complete with name, address, and
phone number), 3) What did Debtor do with $198K obtained from Foris Dax, Inc.,/Crypto.com that were
reimbursed pursuant to Complaint filed, 4) Amend Schedule B to disclose Debtor’s cryptocurrency accounts
and wallet (not disclosed on Schedule B or SOFA), 5) Provide copies of Debtor’s cryptocurrency
statements/transactions from 3/25/22 to present as well as any personal and/or corporate bank statements in
Detor’s name from 3/25/22 to present




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                  Submitted by:
                                                                  NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402
